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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


____________________________________
RAMKRISHNA S. TARE,                  :
                                     :                     Civil Action No. 07-583 (JLL)
            Plaintiff(s),            :
                                     :                     OPINION AND ORDER
                    v.               :
                                     :
BANK OF AMERICA, ET AL.,             :
                                     :
            Defendant(s).            :
____________________________________:

      This matter comes before the Court by way of Plaintiff’s motion to disqualify counsel
(Docket Entry No. 39). Defendants opposed the motion. Pursuant to Federal Rule of Civil
Procedure 78, no oral argument was heard. For the reasons expressed below, Plaintiff’s motion
is DENIED.

                                 FACTUAL BACKGROUND

        Plaintiff commenced this action on February 2, 2007. In his Complaint, Plaintiff brings
claims of malicious abuse of process, fraud upon the Court, malicious prosecution, intentional
and/or negligent infliction or emotion distress, and conspiracy to do the foregoing against
Defendants Bank of America and certain of its directors, Defendant O. Temple Sloan, Jr.,
Defendant Donald E. Guinn and Defendant Steven McMillan. The law firm of Buchanan
Ingersoll & Rooney, P.C. (hereinafter, the “Buchanan firm”) represents Defendants in the instant
action. The Buchanan firm served as counsel of record for Defendant Bank of America in a
bankruptcy proceeding involving Plaintiff’s now defunct corporation, Websci Technologies, Inc.
(the “Bankruptcy Action”). Plaintiff now moves before this Court to disqualify the Buchanan
firm from representing the Defendants, alleging in pertinent part that: (1) the Buchanan firm
bribed former United States Magistrate Judge Ronald J. Hedges and other individuals; (2) Mr.
Louis T. DeLucia, Esq., a former member of the Buchanan firm, forged Plaintiff’s electronic
signature on a consent order in the Bankruptcy Action; (3) a conflict of interest exists amongst
the Defendants such that the Buchanan firm cannot concurrently represent them in this action;
and (4) the Buchanan firm cannot represent the Defendants because the Buchanan firm has a
conflict arising out of its personal interest in the outcome of this matter.

                                     DISCUSSION
I.     Allegations Regarding Bribery of Former United States Magistrate Judge Ronald J.
       Hedges and Other Individuals


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        Plaintiff alleges in his motion that members of the Buchanan firm (specifically Mr. Tod
Chasin) will be necessary witnesses in this matter in violation of New Jersey Rule of Professional
Conduct (“RPC”) 3.71 because, among other things, the Buchanan firm improperly influenced
former Magistrate Judge Hedges, and other individuals.2 Plaintiff claims that Mr. Chasin and
other members of the Buchanan firm will be necessary witnesses to their own acts of bribery of
Judge Hedges and the other individuals named in Plaintiff’s motion.
        Plaintiff provides no factual support for his allegations that the Buchanan firm engaged in
the improper influence or bribery of Judge Hedges or any other individuals. Plaintiff’s
allegations of bribery are wholly unsupported and without merit.
        To the extent Plaintiff relies on Judge Hedges’ participation in a speaking engagement co-
sponsored by the Buchanan firm to support his charges of bribery, that argument is baseless. As
correctly observed by Defendants, pursuant to the New Jersey Code of Judicial Conduct, Canon
4, “a judge may engage in activities to improve the law, the legal system, and the administration
of justice.” Judge Hedges did not act improperly by speaking at the aforementioned symposium
and his engagement at that event does not warrant disqualification of the Buchanan firm in this
matter. There is no merit whatsoever to Plaintiff’s claim.

II.    Allegations Regarding Forgery of Plaintiff’s Signature

       Plaintiff also alleges that members of the Buchanan firm (specifically Mr. Chasin and Mr.
Louis T. DeLucia) will be necessary witnesses in this matter in violation of RPC 3.7 because Mr.
DeLucia allegedly forged Plaintiff’s signature on a consent order submitted to the court in the
Bankruptcy Action. In response, the Buchanan firm argues that, even if Plaintiff’s allegations
were true, Mr. DeLucia is no longer a member of the Buchanan firm and that RPC 3.7 is not
implicated here. The Buchanan firm also argues that the record in the Bankruptcy Action
demonstrates that the alleged forgery was actually a miscommunication as to Tare’s consent to
the order. The Buchanan firm asserts that their lack of malfeasance was confirmed when the
Bankruptcy Court declined to make any findings of impropriety or impose sanctions upon the


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          RPC 3.7 provides:
         (a) A lawyer shall not act as an advocate at a trial in which the lawyer is likely to be a
necessary witness unless: (1) the testimony relates to an uncontested issue; (2) the testimony
relates to the nature and value of legal services rendered in the case; (3) disqualification of the
lawyer would work a substantial hardship on the client.

        (b) A lawyer may act as an advocate in a trial in which another lawyer in the lawyer’s
firm is likely to be called as a witness unless precluded from doing so by RPC 1.7 or 1.9.
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       Plaintiff also alleges that the Buchanan firm engaged in the bribery of Richard B. Honig,
Steven Kartzman and other unidentified individuals.



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firm.
        Plaintiff’s allegations regarding the forgery of his signature in the Bankruptcy Action do
not warrant disqualification of the Buchanan firm in this matter. The Court agrees with
Defendants that Mr. DeLucia’s testimony, should it be required, would not form a basis for
disqualification of the Buchanan firm under RPC 3.7 because Mr. DeLucia is no longer a
member of the firm. The Court also rejects Plaintiff’s claim that Mr. Chasin is a necessary
witness to the alleged forgery because he is counsel of record in this matter and has denied
Plaintiff’s forgery allegations on his clients’ behalf. That argument is without merit and does not
warrant disqualification of the Buchanan firm. Finally, because the Court is not persuaded that
Plaintiff has shown that any member of the Buchanan firm engaged in an act of forgery, the
Court does not find that the firm has failed to remain candid with the Court, as required by RPC
3.3.3

III.    Allegations Regarding Conflict Amongst the Directors of Defendant Bank of
        America

        RPC 1.7(a)(1)4 clearly permits an attorney to represent two parties in a lawsuit that are


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         RPC 3.3 provides, in relevant part:
        (a) A lawyer shall not knowingly: (1) make a false statement of material fact or law to a
tribunal; (2) fail to disclose a material fact to a tribunal when disclosure is necessary to avoid
assisting an illegal, criminal or fraudulent act by the client; (3) fail to disclose to the tribunal
legal authority in the controlling jurisdiction known to the lawyer to be directly adverse to the
position of the client and not disclosed by opposing counsel; (4) offer evidence that the lawyer
knows to be false. If a lawyer has offered material evidence and comes to know of its falsity, the
lawyer shall take reasonable remedial measures; or (5) fail to disclose to the tribunal a material
fact knowing that the omission is reasonably certain to mislead the tribunal, except that it shall
not be a breach of this rule if the disclosure is protected by a recognized privilege or is otherwise
prohibited by law.
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          RPC 1.7 states:
         (a) Except as provided in paragraph (b), a lawyer shall not represent a client if the
representation involves a concurrent conflict of interest. A concurrent conflict of interest exists
if: (1) the representation of one client will be directly adverse to another client; or (2) there is a
significant risk that the representation of one or more clients will be materially limited by the
lawyer’s responsibilities to another client, a former client, or a third person or by a personal
interest of the lawyer.
         (b) Notwithstanding the existence of a concurrent conflict of interest under paragraph (a),
a lawyer may represent a client if: (1) each affected client gives informed consent, confirmed in
writing, after full disclosure and consultation, provided, however, that a public entity cannot
consent to any such representation. When the lawyer represents multiple clients in a single
matter, the consultation shall include an explanation of the common representation and the
advantages and risks involved; (2) the lawyer reasonably believes that the lawyer will be able to

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not adverse to one another. Here, the Buchanan firm represents co-defendants whose interests
are not adverse. Plaintiff has not presented facts sufficient to demonstrate that “there is a
significant risk that the representation of one or more clients will be materially limited by the
lawyer’s responsibilities to another client, a former client, or a third person, or by a personal
interest of the lawyer,” in violation of RPC 1.7 (a)(2). See State v. Davis, 366 N.J.Super. 30, 39
(App. Div. 2004) (holding that there must be a solid foundation exist[ing] for any claim of
disqualifying conflict of interest).
        Moreover, the Buchanan firm has represented to the Court that both Bank of America and
the defendant directors have waived any potential conflict under RPC 1.7(b) and have selected
that Buchanan firm to represent their interests in this matter. The Buchanan firm has further
represented that there are no potential claims that may be asserted by one defendant against any
other in this matter that would give rise to a conflict of interest. Accordingly, the Court finds that
there is no conflict of interest arising out of the Buchanan firm’s representation of the co-
defendants in this matter that would form an appropriate basis of disqualification.

IV.    Allegations Regarding Conflict Because of the Buchanan Firm’s Personal Interest in
       the Outcome of this Matter

         In addition to a potential conflict of interest arising from concurrent representation of the
co-defendants in this mater, Plaintiff alleges that the Buchanan firm has a conflict arising out of
its own interest in this matter. Specifically , Plaintiff claims that the Buchanan firm “will face
liability and most certainly disbarment” when they are found to have engaged in the bribery and
other improprieties alleged by Plaintiff. (Plaintiff’s Reply at ¶ 22). For the reasons stated above,
the Court does not find that Plaintiff has sufficiently alleged misconduct on the part of the
Buchanan firm. Accordingly, the Court is not persuaded that the Buchanan firm has a personal
interest in the outcome of this matter that would subject them to disqualification.

                                          CONCLUSION

       For the reasons set forth above, Plaintiff’s motion to disqualify counsel (Docket Entry
No. 39) is DENIED.



                                                               s/ Claire C. Cecchi
                                                              HON. CLAIRE C. CECCHI
                                                              United States Magistrate Judge
                                                              Dated: October 9, 2008


provide competent and diligent representation to each affected client; (3) the representation is not
prohibited by law; and (4) the representation does not involve the assertion of a claim by one
client against another client represented by the lawyer in the same litigation or other proceeding
before a tribunal.

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